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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

CABLE NEWS NETWORK, INC. and
ABILO JAMES ACOSTA,

               Plaintiffs,                         Case No.: 1:18-CV-2610 (TJK)

   v.

DONALD J. TRUMP, in his official capacity
as President of the United States; JOHN F.
KELLY, in his official capacity as Chief of
Staff to the President of the United States;
WILLIAM SHINE, in his official capacity as
Deputy Chief of Staff to the President of the
United States; SARAH HUCKABEE
SANDERS, in her official capacity as Press
Secretary to the President of the United States;
the UNITED STATES SECRET SERVICE;
RANDOLPH ALLES, in his official capacity
as Director of the United States Secret Service;
and JOHN DOE, Secret Service Agent, in his
official capacity,


               Defendants.

         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
          DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION FOR A
                   TEMPORARY RESTRAINING ORDER
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                                       INTRODUCTION

       On November 7, 2018, the White House revoked the “hard pass” of CNN Chief White

House Correspondent Jim Acosta—the pass that permitted him broad, on-demand access to the

White House grounds—following an incident in which he disrupted the fair and orderly

administration of a press conference during an exchange with the President. That discretionary

decision was lawful. The President and White House possess the same broad discretion to regulate

access to the White House for journalists (and other members of the public) that they possess to

select which journalists receive interviews, or which journalists they acknowledge at press

conferences. Plaintiffs deny that this broad discretion exists, but under even their curtailed view

of the White House’s authority, revoking Mr. Acosta’s pass was permissible. That revocation was

premised on stated reasons that are viewpoint- and content-neutral and are evident from the video

of the November 7 press conference. Because the White House’s decision comports with the First

Amendment and the Due Process Clause, and because Plaintiffs have fallen short of the high

showing necessary for the extraordinary remedy of emergency relief, the motion for a temporary

restraining order should be denied.

       Foremost, Plaintiffs are unlikely to show a likelihood of success on the merits. With

respect to their First Amendment claim, the President and his staff have absolute discretion over

which journalists they grant interviews to, as well as over which journalists they acknowledge at

press events. That broad discretion necessarily includes discretion over which journalists receive

on-demand access to the White House grounds and special access during White House travel for

the purpose of asking questions of the President or his staff. No journalist has a First Amendment

right to enter the White House and the President need not survive First Amendment scrutiny

whenever he exercises his discretion to deny an individual journalist one of the many hundreds of
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passes granting on-demand access to the White House complex. Plaintiffs rely on the D.C.

Circuit’s decision in Sherrill v. Knight, 569 F.2d 124 (D.C. Cir. 1977), but that case is not as broad

as they suggest. Far from establishing all-purpose rules for regulating White House press passes—

rules that apply to everything from the Secret Service’s determinations about security risks to the

President’s personal exercises of discretion based on his first-hand observations—Sherrill

addressed solely the Secret Service’s decision to deny a pass on security grounds to a journalist to

whom the White House had otherwise decided to grant access. That critical predicate is absent

here; “all parties” do not “recognize” that Mr. Acosta deserves access to the White House as soon

as he clears a Secret Service security review. Id. at 131 n.22. In stark contrast to Sherrill, Mr.

Acosta’s access has been denied at a different stage in the decisional process (the White House’s

discretionary decision about which journalists to speak with), ratified by a much higher-level

decisionmaker (the President), and is based on a personal interaction between the President and

Mr. Acosta (the November 7 press conference). But even if the rules Sherrill expounded apply

equally here, those rules have been satisfied. Sherrill bars only denials “based on arbitrary or less

than compelling reasons.” The stated rationale for the revocation of Mr. Acosta’s pass—that he

was disrupting press proceedings—is evident from the video he has proffered, is entirely

viewpoint- and content-neutral, and clears this limited bar.

       Plaintiffs cannot succeed on their due process claim, either. To the extent Sherrill’s

framework even applies to the President’s exercise of discretion based on a personal interaction

with a reporter, Defendants’ actions accord with that framework. Mr. Acosta received notice of

the reasons for his pass’s revocation the night it happened and again the next day (from the

President himself), CNN submitted a response to the revocation on November 8, see Nov. 8 CNN

Letter, Ex. 45 to Boutrous Decl., ECF No. 3-39 (describing CNN reaching out to various White




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House officials), and the White House issued a formal statement yesterday (November 13)

adhering to its prior decision and detailing its reasons for doing so. Plaintiffs have not established

that Due Process Clause requires more, particularly in the context of such a discretionary

determination.

       Plaintiffs likewise fail to establish the other standards required to receive preliminary

injunctive relief. They do not demonstrate the type of irreparable injury necessary for emergency

relief. Sherrill itself granted only procedural relief via additional process—never an emergency—

and did so following orderly summary judgment briefing. See Forcade v. Knight, 416 F. Supp.

1025, 1027 (D.D.C. 1976) (“In their motion for summary judgment ….”). Plaintiffs attempt to

claim harm from an alleged First Amendment violation, but their inability to show such a violation

likewise dooms their claim of irreparable harm. Besides, even if Plaintiffs could show First

Amendment harm in the abstract, they cite no critical event expected in the next several weeks that

requires immediate judicial intervention pending expedited preliminary injunction briefing. Mr.

Acosta remains able to practice his profession and report on the White House. And CNN’s straits

are even less dire, given that the network has roughly 50 other employees who retain hard passes

and who are more than capable of covering the White House complex on CNN’s behalf.

       Nor does the balance of equities favor Plaintiffs, who ask this Court to issue an

unprecedented and extraordinarily intrusive order that would require the President and Secret

Service to grant on-demand access to the White House complex, West Wing press offices, and

other facilities in the President’s official residence and personal office suite to someone he has

decided to exclude. The public interest does not require that Mr. Acosta be given immediate access

to the White House complex. The public can benefit from his reporting from outside the complex

during preliminary injunction briefing, and is additionally well-served by the numerous other




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journalists who retain their hard passes and who will continue to tenaciously ask questions at press

events, just as they have done since the revocation of Mr. Acosta’s pass. The non-merits factors

are thus alone a sufficient basis to deny Plaintiffs emergency TRO pending orderly, thorough, and

expedited briefing on their motion for preliminary injunction.

       This Court should deny Plaintiffs’ motion for a temporary restraining order.

                                          BACKGROUND

       Many reporters cover the White House for a range of local, national, and international news

outlets. A subset of those reporters have access to facilities within the White House complex—

access that requires certain credentials. After completing a Secret Service background check, a

reporter may then be approved by the White House for a so-called “hard pass,” which allows access

to the White House complex and briefing room.

       On November 7, 2018, President Trump held a press conference to discuss the 2018

midterm elections.    Id. ¶ 30.   One of the attendees was Jim Acosta, chief White House

Correspondent for CNN, who held a hard pass at that time. Id. ¶¶ 7, 22. At that press conference,

as reported in a statement by Press Secretary Sarah Huckabee Sanders, “[a]fter Mr. Acosta asked

the President two questions—each of which the President answered—he physically refused to

surrender a White House microphone to an intern, so that other reporters might ask their

questions.”      CNN      sues    Trump    and    White    House     aides    (Nov.    13,    2018),

https://www.cnn.com/business/live-news/cnn-sues-trump-acosta-reaction/         h_60ac        92e98a6

edf377df982c9ecd131ad [hereinafter “Sanders Statement”]; see also Compl. ¶ 34 (explaining that

Mr. Acosta “held onto the microphone” after a “White House staffer” had put her hands on the

microphone and attempted to reclaim it).




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       Later that day, Press Secretary Sanders announced that Mr. Acosta’s hard pass had been

suspended until further notice. Compl. ¶ 39. She stated that “[Mr. Acosta’s] conduct is absolutely

unacceptable. It is also completely disrespectful to the reporter’s colleagues not to allow them an

opportunity   to   ask   a   question.”      @PressSec     [Sarah    Sanders]    (Nov.    7,     2018),

https://twitter.com/PressSec/status/ 1060333619728801792. Following that action, Mr. Acosta’s

application for a day pass on November 8, 2018, was rejected, and he was not permitted access to

the President’s events during a trip to Paris the following day. Id. ¶¶ 49-50. Also on November

8, CNN sent the White House a letter on Mr. Acosta’s behalf, responding to his suspension on

conduct grounds. In that letter, CNN asserted that “the nature and tone of [Mr. Acosta’s] questions

was appropriate and newsworthy.” Nov. 8 CNN Letter. Following that letter, the Press Secretary

further explained the decision in a written statement released on November 13, 2018:

       This was not the first time this reporter has inappropriately refused to yield to other
       reporters. The White House cannot run an orderly and fair press conference when
       a reporter acts this way, which is neither appropriate nor professional. The First
       Amendment is not served when a single reporter, of more than 150 present, attempts
       to monopolize the floor. If there is no check on this type of behavior it impedes the
       ability of the President, the White House staff, and members of the media to
       conduct business.

Sanders Statement.

       Plaintiffs, Mr. Acosta and CNN, filed their complaint, a motion for preliminary injunction,

and a motion for a temporary restraining order on November 13, 2018. See ECF Nos. 1, 2, 4. This

Court has scheduled oral argument on Plaintiffs’ motion for a temporary restraining order for the

afternoon of November 14, 2018. Minute Order (Nov. 13, 2018).


                                          ARGUMENT

      “The standard for issuance of the extraordinary and drastic remedy of a temporary

restraining order or a preliminary injunction is very high.” Jack’s Canoes & Kayaks, LLC v. Nat’l



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Park Serv., 933 F. Supp. 2d 58, 75 (D.D.C. 2013) (citation omitted). An interim injunction is

“never awarded as of right,” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008), and

“should be granted only when the party seeking the relief, by a clear showing, carries the burden

of persuasion,” Cobell v. Norton, 391 F.3d 251, 258 (D.C. Cir. 2004). A party moving for a

temporary restraining order or a preliminary injunction “must demonstrate ‘(1) a substantial

likelihood of success on the merits, (2) that it would suffer irreparable injury if the injunction is

not granted, (3) that an injunction would not substantially injure other interested parties, and (4)

that the public interest would be furthered by the injunction.’” Jack’s Canoes, 933 F. Supp. 2d at

75-76 (quoting CityFed Fin. Corp. v. Office of Thrift Supervision, 58 F.3d 738, 746 (D.C. Cir.

1995)). Because Plaintiffs have not demonstrated these factors, their motion for a temporary

restraining order should be denied.

I.     Plaintiffs Are Not Likely to Succeed on Their First Amendment Claim.

       A.      The President Has Broad Discretion in Granting White House Access to
               Journalists.

       The First Amendment does not restrict the President’s ability to determine the terms on

which he does, or does not, engage with particular journalists. As the D.C. Circuit recognized in

Sherrill v. Knight, 569 F.2d 124 (D.C. Cir. 1977), the principal case on which Plaintiffs rely, the

President may of course “grant interviews or briefings with selected journalists” and deny that

opportunity to others; any other result would “certainly be unreasonable.” Id. at 129. The

President may choose the journalists he calls on at press conferences or which journalists he invites

to an interview in the Oval Office or a press conference (just a large-form interview) in the East

Room. That discretion extends to his White House staff; the President is free to instruct White

House officials to respond positively to particular journalists’ requests for information, interviews,




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or questions, and he is equally free to instruct White House officials to do the opposite by declining

similar requests from a different journalist.

       If the rule were otherwise, courts frequently would be called on to police the daily give-

and-take between public officials and reporters—an arena that is defined by discretion and where

public officials routinely grant or deny interviews to specific reporters based on their judgment

about how the reporter’s viewpoints will color the interview. That concern led the Fourth Circuit

to uphold the governor of Maryland’s decision to prohibit everyone “in the Executive Department

or Agencies” from speaking with two reporters from the Baltimore Sun. The Baltimore Sun Co.

v. Ehrlich, 437 F.3d 410, 413 (4th Cir. 2006). In reaching that conclusion, the court explained that

providing “relatively less information” to one reporter was permissible, even when done “on

account of [that journalist’s] reporting[.]” Id. at 418. Such decisions regarding the level of access

a journalist receives to public officials are “a pervasive feature of journalism and of journalists’

interaction with government.” Id.; see also Pls.’ Br. 10 (suggesting the Court should view this

case as an example of a public official “granting favorable treatment to certain members of the

media” (quoting Anderson v. Cryovac, Inc., 805 F.2d 1, 9 (1st Cir. 1986)).

       More broadly, there is no First Amendment right of access to the White House. As the

Supreme Court recognized decades ago, even though any restriction on a citizen’s access to the

White House “diminishes the citizen’s opportunities to gather information he might find relevant

to his opinion of the way the country is being run, . . . that does not make entry into the White

House a First Amendment right.” Zemel v. Rusk, 381 U.S. 1, 16-17 (1965). The President is

generally free to open the White House doors to political allies, in the hopes of furthering a

particular agenda, and he is equally free to invite in only political foes, in the hopes of convincing

them of his position. The First Amendment simply does not regulate these decisions. And the




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First Amendment does not impose stricter requirements when journalists, as a subset of the public,

are granted or denied access to the White House. See Pell v. Procunier, 417 U.S. 817, 834-35

(1974) (holding that journalists do not have a First Amendment right to “information not available

to members of the public generally”). The Supreme Court reinforced that the press does not

receive special treatment for First Amendment purposes in Citizens United v. Federal Election

Commission, 558 U.S. 310 (2010). See id. at 352 (“We have consistently rejected the proposition

that the institutional press has any constitutional privilege beyond that of other speakers.” (citation

omitted)). A rule that limits the White House’s discretion to grant or deny journalists hard passes

would thus risk requiring the White House to grant full access to any member of the public who

would like to ask the President or his staff questions.

       Accordingly, the decision to provide a journalist a White House hard pass takes place at

the intersection of two realms the First Amendment does not reach: access to the White House,

and White House interactions with particular journalists. And where, as here, the White House

has determined that it wants to scale back its interactions with a particular journalist, denying that

journalist a hard pass is a permissible way to accomplish that goal.

       Plaintiffs’ argument to the contrary rests primarily on Sherrill—the only D.C. Circuit case

they cite regarding press access to the White House.1 Plaintiffs rely on Sherrill for the broad

proposition that press “access [should] not be denied arbitrarily or for less than compelling

reasons.” Pls.’ Br. 9 (quoting Sherrill, 569 F.2d at 129). But Sherrill is not so broad. In that case,

the sole question was whether the Secret Service had permissibly denied a hard pass to a journalist,

who the parties agreed was otherwise eligible to receive it, for concerns over presidential security.


       1
         Plaintiffs cite a number of cases that discuss the standards for content- and viewpoint-
based distinctions. See Pls.’ Br. 10-11. But those cases do not apply because the First
Amendment does not restrict discretionary choices about White House access.


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See, e.g., Sherrill at 126 (“The denial resulted solely from the determination of the Secret Service,

after investigating Mr. Sherrill, that he not be issued the pass.”); id. (“Whether a pass is then issued

depends solely on the recommendation of the Secret Service.”). The Court noted “that all parties

to this case recognize the right of a journalist to a White House press pass,” assuming that the

journalist satisfies some basic objective criteria and is not “a source of potential danger to the

President or his family.” Id. at 131 n. 22. The particular question the Court had to answer was

thus what standards governed the Secret Service’s denial of a hard pass based on security

reasons—i.e., a hard pass to an “otherwise eligible journalist,” id. at 130, on the “sole[] …

recommendation of the Secret Service,” id. at 126.

       In this case, by contrast, it is not conceded that Mr. Acosta is an “otherwise eligible

journalist.” The President and his designees in the White House Press Office have exercised their

discretion not to engage with him and, by extension, to no longer grant him on-demand access to

the White House complex so that he can attempt to interact with the President or White House

officials. Unlike the situation in Sherrill, where only the Secret Service was objecting to the

issuance of a pass to the reporter, the White House Press Office here has so objected and thus does

not “recognize the right of a journalist to a White House press pass” in all cases absent a

demonstrated security threat. Sherrill, 569 F.2d at 131 n.22. Put differently, Defendants do not

concede—and, in fact, reject—the premise that White House “press facilities are perceived as

being open to all bona fide Washington-based journalists[.]” Id. at 129 (emphasis added). Such a

conclusion is untenable in light of the numerous discretionary determinations the White House

Press Office must make in allocating hard passes to a subset of bona fide Washington-based

journalists—for example, the degree to which the requester’s beat requires reporting on the White

House, whether a requester is a journalist with a sufficiently broad audience, and whether hard




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passes are fairly distributed between comparable organizations. Accordingly, the premise on

which the D.C. Circuit’s opinion in Sherrill depends—that the White House Press Office does not

exercise discretion in giving out hard passes to journalists, and that access is subject solely to a

security review by the Secret Service—does not exist here. Sherrill’s framework thus simply does

not apply and does not constrain the President’s broad discretion over which journalists receive

on-demand access to the White House to ask questions of him and his staff.

       B.       Even if the D.C. Circuit’s Decision in Sherrill Applies to All White House
                Decisions About Hard Passes, the Decision to Revoke Mr. Acosta’s Pass Was
                Permissible.

       Even if the Court decides that Sherrill’s more restrictive framework is controlling, the

decision to revoke Mr. Acosta’s pass was permissible. Under Sherrill, the government cannot

deny hard passes “arbitrarily or for less than compelling reasons.” Sherrill, 569 F.2d at 129.2 Mr.

Acosta’s decision to engage in conduct that disrupts press events and impedes other reporters from

asking questions provides a more-than-sufficient reason for revoking his hard pass.

       Plaintiffs’ First Amendment argument rests on the assertion that “there can be no question

that the revocation of Acosta’s credentials is a content and viewpoint-based punishment imposed

on him because the President and his administration do not like CNN or Acosta’s reporting.” Pls.’

Br. 11. Not so. Even in this preliminary posture, the record available to the Court contradicts

Plaintiffs’ characterization. Rather, as the Press Secretary publicly explained, Mr. Acosta’s

conduct impeded the White House’s ability to “run an orderly and fair press conference[.]”

Sanders Statement; see also id. (“After Mr. Acosta asked the President two questions—each of

which the President answered—he physically refused to surrender a White House microphone to


       2
          The D.C. Circuit appears to equate those two standards, repeating a second time in
Sherrill that a hard pass cannot be denied “based on arbitrary or less than compelling reasons”
Id. at 131.


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an intern, so that other reporters might ask their questions. This was not the first time this reporter

has inappropriately refused to yield to other reporters.”).

         First, Plaintiffs’ own description of the November 7 press conference validates the White

House’s stated reasons for revoking Mr. Acosta’s hard pass. In Plaintiffs’ telling, Mr. Acosta

asked a question of the President, but the President did not permit him a follow-up. Compl. ¶¶ 33-

34. Rather than acknowledge the President’s attempt to move on to a different journalist, however,

Mr. Acosta continued to try to hold the floor, such that a White House staffer attempted to

physically reclaim the microphone Mr. Acosta had been using. Id. ¶ 34. Even after the staffer

actually had her hands on the microphone, Mr. Acosta continued his refusal to permit another

journalist to ask a question, ignoring both the stated wishes of the President and the efforts of a

staffer tasked with helping to manage the event.           See id.; see also Donaldson Decl. ¶ 9

(acknowledging the salience of “Jim Acosta’s conduct” during the press conference).

         Second, Plaintiffs claim that the decision to revoke Mr. Acosta’s hard pass was the result

of the President’s allegedly “clear . . . antipathy” for “CNN [and] Acosta’s reporting.” Pls.’ Br.

11. But approximately 50 other CNN journalists retain hard passes to enter the White House

complex, undercutting their argument that revoking Mr. Acosta’s pass was part of an effort to

punish or silence CNN. Plaintiffs’ complaint alleges that this antipathy is longstanding, without

any plausible explanation as to why there were no allegedly retaliatory actions against Mr. Acosta

previously. Compl. ¶¶ 27-29. The more natural explanation for the White House revoking Mr.

Acosta’s pass on November 7, 2018—and to not revoke any of the other 50 passes held by CNN

journalists—is that Mr. Acosta’s revocation is based on his conduct at the November 7, 2018 press

event.




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       Third, and relatedly, Plaintiffs’ description of the White House’s conduct towards other

reporters reinforces that Plaintiffs have failed to demonstrate that the White House made a content-

or viewpoint-based decision with respect to Mr. Acosta. Plaintiffs’ papers include no allegations

that the White House has revoked the hard pass of any other reporters—including from CNN—

whose reporting the President allegedly disagrees with. See, e.g., id. at 11-12 (Abby Phillip of

CNN); Compl. ¶ 36 (Peter Alexander of NBC). In fact, dozens of CNN reporters still retain White

House hard passes, see Sanders Statement, as do a number of other journalists who ask him hard-

hitting questions.

       Together, this evidence undermines any claim of content- or viewpoint-based retaliation;

the better explanation is that the White House responded to conduct that was particularly disruptive

to a press conference with a decision denying one specific reporter further opportunities to cause

disruptions. Revoking a reporter’s hard pass for impeding the White House’s ability to conduct

fair and orderly press conferences is not “arbitrary.” Sherrill, 569 F.2d at 131. Rather, it preserves

the White House’s ability to balance each individual reporter’s desire to ask questions with the

need to abide by norms that permit other reporters to ask questions as well. Indeed, “the need to

avoid disruptions” has long been a non-arbitrary basis for government action. Fenceroy v.

Morehouse Parish School Bd., No. Civ. A. 05-0480, 2006 WL 39255, at *4 (W.D. La. Jan. 6,

2006). The White House’s actions, accordingly, do not run afoul of even Plaintiffs’ articulation

of the relevant First Amendment standards.

II.    Plaintiffs Are Not Likely to Succeed in Demonstrating that Defendants Violated the
       Due Process Clause.

       In order to sustain a claim under the Due Process Clause, “a plaintiff must show (i)

deprivation of a protected liberty or property interest; (ii) by the government; (iii) without the

process that is ‘due’ under the Fifth Amendment.” NB ex rel. Peacock v. Dist. of Columbia, 794



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F.3d 31, 41 (D.C. Cir. 2015) (citations omitted). This is a necessarily fact-sensitive inquiry, and

“calls for such procedural protections as the particular situation demands.” Mathews v. Eldridge,

424 U.S. 319, 334 (1976) (quoting Morrissey v. Brewer, 408 U.S. 471, 481 (1972)). But even

assuming that Mr. Acosta has a constitutionally protected liberty interest in the discretionary

grant of a hard pass, he has not shown that he has been denied the process he is due.3

        As an initial matter, it is far from clear that Mr. Acosta or CNN has a constitutionally

protected liberty interest in Mr. Acosta’s access to the White House complex. While the D.C.

Circuit in Sherrill found a “First Amendment” liberty interest that “may not be deprived without

due process of law,” 569 F.2d at 130, that liberty interest was dependent on a First Amendment

right, which may not apply here for the reasons previously stated. And even if this case did not

arise at the intersection of two unprotected areas under the First Amendment, the D.C. Circuit

made clear that any liberty interest at issue must be understood in the broader context of “the


        3
          Although the D.C. Circuit held, in the context of Sherrill, that a reporter may have a
liberty interest in a press pass, it did not hold that a reporter has a protected property interest in
that same pass, for good reason. The regulations that govern the grant or denial of a security
clearance for a press pass by the Secret Service, 31 C.F.R. § 409.1, do not confer on plaintiffs
any entitlement to such a pass, nor do they govern the White House Press Office’s judgment as
to whether to issue a pass. See NB ex rel. Peacock, 694 F.3d at 41 (a putative due process
claimant must show a “legitimate claim of entitlement” to a government benefit to establish a
protected privacy interest.”); see also id. (legitimate claim of entitlement requires the court to
determine whether “the statute or implementing regulations place substantial limitations on
official discretion.”).
         Nor can Mr. Acosta point to an interest in “do[ing] his job,” Pls.’ Br. at 16, because he
still remains employed at CNN and able to report on the White House, and a change in a
person’s ability to do his job is not sufficient to establish a cognizable due process property
interest. See Roberts v. United States, 741 F.3d 152, 162 (D.C. Cir. 2014) (plaintiff lacks a
property interest in her employment because she remains employed); cf. Humberson v. U.S.
Atty’s Office for D.C., 236 F. Supp. 2d 28, 32 (D.D.C. 2003) (“federal courts have uniformly
concluded that a change in a public employee’s duties . . . unaccompanied by a reduction in
salary is not a sufficient deprivation to trigger due process obligations.”). After all, Plaintiffs
cannot dispute that, as the D.C. Circuit recognized in Sherrill, the President could choose never
to hold another press briefing again and cancel all press passes, without implicating due process
protections. See Sherrill, 569 F.2d at 129.


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publication for which” the newsman works and the public’s interest in limiting restrictions on

newsgathering. 569 F.2d at 129–30. That makes sense, for if Mr. Acosta were simply a member

of the public, it would be clear that he has no First Amendment right of access to the White

House complex, see Zemel, 381 U.S. at 16–17, and neither Sherrill nor any other precedent

suggests that every journalist has the same First Amendment right of access to the

complex. Here, of course, it is clear that CNN has broad access to the White House complex

even without Mr. Acosta’s hard pass—it employs more than 50 reporters who retain hard passes,

not to mention other CNN contributors.

       To begin, as Plaintiffs acknowledge, Pls.’ Br. at 18, “[d]ue process is not violated when a

person is unlawfully deprived of property and a meaningful post-deprivation remedy is

provided.” Gallucci v. Chao, 374 F. Supp. 2d 121, 126 (D.D.C. 2005); see also Nurriddin v.

Acosta, 327 F. Supp. 3d 147, 157 (D.D.C. 2018) (opportunity to move for reconsideration may

be sufficient post-deprivation remedy).

       Here, even by Sherrill’s standard, there has been no denial of the process to which Mr.

Acosta claims he is entitled. First, he has received “notice of the factual bases for denial.”

Sherrill, 569 F.2d at 130. On the evening of November 7, 2018, Press Secretary Sanders

referenced Mr. Acosta’s conduct during the press conference as the reason for the suspension of

his hard pass. She stated that “[Mr. Acosta’s] conduct is absolutely unacceptable. It is also

completely disrespectful to the reporter’s colleagues not to allow them an opportunity to ask a

question.” @PressSec [Sarah Sanders] (Nov. 7, 2018), https://twitter.com/PressSec/status/

1060333619728801792. The President had similarly criticized Mr. Acosta’s conduct during that

press conference, which complemented Ms. Sander’s notice. See Compl. ¶ 35. Mr. Acosta had

thus received actual notice of his revocation and the rationale therefore, which the Supreme




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Court has recognized can be sufficient in the due process context. See U.S. Student Aid Funds,

Inc. v. Espinosa, 559 U.S. 260, 272 (2010) (holding that “actual notice of the filing and contents

of [a proposed bankruptcy plan] . . . more than satisfied [plaintiff’s] due process rights”); cf. also

GAC Enters. Inc. v. Medaglia, 52 F.3d 451, 455 (2d Cir.1995) (“where a claimant demonstrated

actual knowledge of the seizure of property in an administrative forfeiture proceeding the

government's failure to provide published notice . . . did not violate due process).

       Next, Mr. Acosta had an “opportunity to rebut,” 569 F.2d at 131, which he availed

himself of when CNN submitted a written response to the revocation on November 8, which

specifically responded to the asserted basis that Mr. Acosta’s conduct was the basis for the

revocation. See Nov. 8 CNN Letter, Ex. 45 to Boutrous Decl., ECF No. 3-39 (stating that “the

nature and tone of [Mr. Acosta’s] questions was appropriate and newsworthy”). Finally, on

November 13, Press Secretary Sanders provided a “final written statement of the reasons for the

denial.” Sherrill, 569 F.2d at 130. She stated that:

       After Mr. Acosta asked the President two questions—each of which the President
       answered—he physically refused to surrender a White House microphone to an
       intern, so that other reporters might ask their questions. This was not the first time
       this reporter has inappropriately refused to yield to other reporters.
       The White House cannot run an orderly and fair press conference when a reporter
       acts this way, which is neither appropriate nor professional. The First Amendment
       is not served when a single reporter, of more than 150 present, attempts to
       monopolize the floor. If there is no check on this type of behavior it impedes the
       ability of the President, the White House staff, and members of the media to
       conduct business.

Sanders Statement.

       This procedure accords with the requirements set out in Sherrill and, under the unique

circumstances here, satisfies the flexible three-factor balancing test the Supreme Court

expounded in Mathews for due process claims. The first Mathews factor is “the private interest

that will be affected by the official action.” Mathews, 424 U.S. at 335. In weighing this factor,



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courts are particularly concerned with the significance of those interests to the individual who

possesses them: weighty private interests can include the termination of employment, Cleveland

Bd. of Educ. v. Loudermill, 470 U.S. 532, 543 (1985); access to a vehicle, at least where “a car

may be a person’s only means to earn a livelihood, attend school, see family, or attend to the

necessities of life,” Brown v. Dist. of Columbia, 115 F. Supp. 3d 56, 66 (D.D.C. 2015); or the

ability to conduct financial transactions where the inability to do so “would present a potentially

existential threat,” FBME Bank Ltd. v. Lew, 209 F. Supp. 3d 299, 329 (D.D.C. 2016). Not all

private interests are so significant. See Gilbert v. Homar, 520 U.S. 925, 932 (1997) (noting that

“temporary suspension without pay” does not constitute a due process violation so long as

employee “receives a sufficiently prompt postsuspension hearing.”). Here, even if Mr. Acosta

had a legally cognizable private interest in possessing a hard pass, the absence of one does not

infringe his interests to the degree highlighted by other courts in cases where the private interest

was substantial. For instance, the lack of a hard pass does not prevent Mr. Acosta—much less

CNN—from reporting on the White House. See Sanders Statement (stating that CNN “has

nearly 50 additional hard pass holders”). Nor does it limit his livelihood or cause his

employment to be terminated. Indeed, given that Sherrill itself recognizes that the President

need not give interviews to reporters the President prefers to avoid, 569 F.2d at 129, and that

government officials may direct their staff not to speak with certain reporters, The Baltimore Sun

Co. v. Ehrlich, 437 F.3d 410, 417-18 (4th Cir. 2006), the only interest that could be implicated

by this case is Mr. Acosta’s ability to be in a certain physical location, not to have access to any

particular individuals or have his questions answered.

       Second, there is a limited “risk of erroneous deprivation of such [private] interest through

the procedures used,” as well as a concurrently limited “probative value, if any, of additional or




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substitute procedural safeguards.” Mathews, 424 U.S. at 335. The Supreme Court has defined

this factor as a “concern for accuracy.” City of Los Angeles v. David, 538 U.S. 715, 718 (2003);

see also Mackey v. Montrym, 443 U.S. 1, 12 (1979) (court looks to “the likelihood of an

erroneous deprivation of the private interest involved as a consequence of the procedures used.”).

In her initial and follow-up statements, Press Secretary Sanders identified the conduct at issue—

that Mr. Acosta has “inappropriately refused to yield to other reporters,” Sanders Statement, see

also Nov. 7 Tweet—and it is not likely that there are disputes in fact about the conduct in the

November 7 press conference that additional process at the White House could better adjudicate,

particularly given that the press conference was recorded and personally involved the ultimate

decisionmaker (the President). See City of Los Angeles, 538 U.S. at 718 (“A 30-day delay in

presenting evidence is unlikely to spawn significant factual errors.”).

       Indeed, this factual context distinguishes Sherrill. Here, apparently unlike Sherrill, Mr.

Acosta’s offending actions were personally witnessed by the President and other relevant White

House officials, who stated reasons for his hard pass’s suspension that same evening. Because

they had just observed the conduct, the risk that they would erroneously exercise their discretion

in revoking Mr. Acosta’s hard pass based on a misapprehension of the factual context is small,

and additional process is not necessary. The Federal Rules of Criminal Procedure embrace a

similar approach to due process in the context of contempt proceedings. Although contempt

proceedings generally require “prosecution after notice,” they permit summary punishment when

a person commits “criminal contempt in [the court’s] presence if the judge saw or heard the

contemptuous conduct and so certifies.” Fed. R. Crim. P. 42; see also Taylor v. Hayes, 418 U.S.

488, 497 (1974) (affirming a “trial judge’s power, for the purpose of maintaining order in the

courtroom, to punish summarily and without notice or hearing contemptuous conduct committed




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in his presence and observed by him”). Moreover, the action challenged here, denial of access to

the White House press area, is far less drastic than the sanctions for criminal contempt, which

reinforces that the due process clause is not offended by such an action.

       Finally, the government has a strong interest in ensuring the integrity and adequacy of its

operations, in this case, press interactions without undue interruptions.4 See Sanders Statement

(“The White House cannot run an orderly and fair process conference when a report acts this

way, which is neither appropriate nor professional.”); cf. FDIC v. Mallen, 486 U.S. 230, 241

(1988) (public interest can be in preserving the integrity of government proceedings or those of

the proceedings government regulates). Similarly, the need to prevent future disruption may

justify post-deprivation procedures, at least where, as here, the government interest in preventing

disruption might be frustrated if Mr. Acosta is granted continued access to the White House

while his status is under adjudication.

III.   The Most Plaintiffs Can Obtain is Additional Process.

       Even if the Court determines that Plaintiffs are likely to succeed on the merits for their

claims, the only remedy to which they would be entitled is additional written process—perhaps in

the form of a written submission to the White House. It is clear from Sherrill that the Court should

not, as Plaintiffs ask, require that Mr. Acosta’s hard pass be reinstated. As the D.C. Circuit

explained in Sherrill, the district court in that case was correct in concluding “that it had no

occasion to pass on the merits of the press pass denial.” 569 F.2d at 128. Instead, the only remedy


       4
          Plaintiffs state that “the President’s safety” is the only relevant government interest with
respect to the awarding of press passes. Pls.’ Br. at 18 (citing Sherrill, 569 F.2d at 130-31 &
n.22). But Sherrill only considered what factors guided the Secret Service’s decision to exclude
an otherwise eligible journalist, Sherrill, 569 F.2d at 130; id. at n.22; it did not suggest that those
were the only factors that could be considered by the White House Press Office. Indeed, were
that so, the White House press facilities would be open to thousands, if not tens of thousands of
individuals.


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that was available there—and thus the most that could be available here—is a remand for any

process to which Mr. Acosta is entitled. Id. That makes sense, given how extraordinary it would

be for the judiciary to directly police access to the secure White House complex where the

President lives and works, as well as to dictate who the President must invite to press events.

IV.    Plaintiffs Cannot Demonstrate Irreparable Injury.

       This Circuit sets “a high standard for irreparable injury.” Chaplaincy of Full Gospel

Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006). “[T]he injury must be both certain

and great; it must be actual and not theoretical.” Wisconsin Gas Co. v. FERC, 758 F.2d 669, 674

(D.C. Cir. 1985). Plaintiffs have not made such a showing. Plaintiffs focus their argument on

the claim that because, “[i]n First Amendment cases, the likelihood of success ‘will often be the

determinative factor’ in the preliminary injunction analysis,” irreparable harm necessarily flowed

from that initial merits determination. Pursuing America’s Greatness v. FEC, 831 F.3d 500, 511

(D.C. Cir. 2016) (quoting Joelner v. Vill. off Wash. Park, Ill., 378 613, 620 (7th Cir. 2004)); see

also Pls.’ Br. 19. But, for the reasons stated above, Plaintiffs have not demonstrated a likelihood

of success, and therefore they cannot demonstrate irreparable harm based on a supposed

constitutional violation.

       Nor have Plaintiffs independently demonstrated irreparable harm. They speculate that

there may be a “chilling effect” by the revocation of Mr. Acosta’s hard pass, Pls.’ Br. 19, but

such speculation is merely “theoretical”; it is not “both certain and great.” Wisconsin Gas, 674

F.2d at 674; see also FEC v. GOPAC, Inc., 897 F. Supp. 615, 618-19 (D.D.C. 1995) (holding

that political organization’s speculation that donors will be chilled from participating in the

political process if they are subject to calls from the FEC is “conclusory and without factual

support”); Nichols v. Agency for Int’l Dev., 18 F. Supp. 1, 5 (D.D.C. 1998) (holding that




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plaintiff’s “single-statement allegation, buttressed by no factual support, cannot support a finding

of irreparable injury based on a putative chilling effect.”).5 If anything, the allegations in the

complaint reinforce that there has been no such chilling effect on the White House press corps—

journalists have continued to ask pointed questions of the President, including about the decision

to revoke Mr. Acosta’s hard pass. See Compl. ¶ 53.

       Plaintiffs also cite several cases for the proposition that “restrictions on a reporter’s

coverage of White House and government affairs . . . constitute irreparable injury.” Pls.’ Br. 19.

But these cases do not apply in this context. See id. at 19-20. In Cable News Network, Inc. v.

American Broadcasting Companies, Inc., 518 F. Supp. 1238 (N.D. Ga. 1981), a case challenging

“the total exclusion of television media from limited coverage White House events,” the court

concluded that irreparable injury would occur “[i]f television crews are totally excluded from

White House pool coverage, [because] the unique continuous visual element of television news

coverage will be denied to the public and the press.” Id. at 1245-46 (emphasis added); see also

id. at 1246 (“By totally excluding television participants, a complete visual record of the

Presidential activities covered by the press pools is lost forever.”). Here, of course, there is no

such comparable exclusion, as the American public—and, indeed, CNN—will still have

significant White House Access. See Sanders Statement (noting that CNN “has nearly 50

additional hard pass holders). Likewise, in American Broadcasting Companies, Inc. v. Cuomo,

570 F.2d 1080 (2d Cir. 1977), the court addressed the situation in which state actors could

prohibit television networks from election headquarters. The court concluded that “irreparable



       5
          DeGuiseppe v. Vill. of Bellwood, 68 F.3d 187, 192 (7th Cir. 1995), which is plaintiffs’
sole citation for their “chilling effect” theory, Pls.’ Br. 19, was not a case in a preliminary
injunction posture, and therefore had no occasion to apply the D.C. Circuit’s “certain and great”
requirement. Wisconsin Gas, 758 F.2d at 674.


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harm will result if ABC is not permitted to broadcast live coverage of the post-election activities

at the respective headquarters,” particularly given that some “viewers might be limited to a

single channel.” Id. at 1082. Again, here, there is no such limitation; CNN is not limited in what

it can broadcast, or even what it can report from the numerous CNN-affiliated reporters who

continue to hold hard press passes.

       Finally, Plaintiffs complain that Mr. Acosta has been denied the ability to cover the

President’s recent trip to Paris. Pl.’s Br. at 20. But “[t]he purpose of a preliminary injunction is

not to remedy past harm but to protect plaintiffs from irreparable injury that will surely result

without their issuance.” Schrier v. Univ. of Colorado, 427 F.3d 1253, 1267 (10th Cir. 2005).

Here, Plaintiffs point to no upcoming events—trips, press conferences, etc.—that Mr. Acosta

would miss, much less that he would suffer irreparable harm from missing. And they certainly

cite nothing imminent that necessitates an emergency temporary restraining order based on less

than 48 hours of briefing.

       To conclude, Plaintiffs put forward no facts demonstrating irreparable injury; rather, they

rely on speculation, itself insufficient in this Circuit, and an argument that irreparable injury

follows necessarily from a constitutional violation that Plaintiffs have not shown they are likely

to establish. For that reason alone, preliminary relief is improper.

V.     The Balance of Harms and the Public Interest Weigh Against Injunctive Relief.

       A party seeking a temporary restraining order or preliminary injunction must also

demonstrate “that the balance of equities tips in [its] favor, and that an injunction is in the public

interest.” Winter, 555 U.S. at 20. “These factors merge when the Government is the opposing

party.” Nken v. Holder, 556 U.S. 418, 435 (2009).




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       Here, Plaintiffs have not established that the public’s interest is harmed by denying access

to one reporter while retaining (extensive) access for that reporter’s outlet, reporters from other

outlets, and, indeed, giving reporters the chance to ask questions or otherwise engage with the

White House. Said differently, Plaintiffs have not established that the public interest is uniquely

harmed by Mr. Acosta’s absence, in light of the other tenacious reporters still on the White House

beat. This basic fact distinguishes this case from those that Plaintiffs cite in their brief. In

Telemundo of Los Angeles v. City of Los Angeles, 283 F. Supp. 2d 1095, 1103-04 (C.D. Cal. 2003),

the issue was whether the public interest was harmed when an entire television network had been

denied access to a public event. Cable News Network went even further, addressing the public

interest when an entire segment of the news industry, television, was denied access to a public

event. 518 F. Supp. at 1245. None of these cases addressed the situation here, where a single

reporter was excluded from a place where many other reporters, including many from his

organization, were equally present.

       Plaintiffs also suggest that “Defendants actions are designed to and will chill not just

Acosta’s reporting, but also reporting generally.” Pls. Br. 22. But this is simple speculation that,

absent more, is not sufficient for preliminary or temporary injunctive relief. Wisconsin Gas, 758

F.2d at 674. And as noted above, it is speculation that is particularly unfounded in light of the

allegations in this case. See supra § I.B.

       Finally, Plaintiffs fail to reckon with the extraordinarily intrusive nature of the judicial

relief they seek—a decree ordering the President to grant access to facilities in his official

residence and personal offices to a specific journalist he has decided to exclude.          At this

preliminary stage, that hardship is far more significant than any hardship on Plaintiffs. For that

reason, too, emergency relief is unwarranted.




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                                      CONCLUSION

      For the aforementioned reasons, this Court should deny Plaintiffs’ Motion for a

Temporary Restraining Order.

Dated: November 14, 2018                   Respectfully submitted,

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